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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE, INDIANA

EMILY LEWIS                 )
                            )
              Plaintiff,    )
                            )
         v.                 )                        1:19-cv-00451-WCL-SLC
                            )
INDIANA WESLEYAN UNIVERSITY )
                            )
              Defendant.    )


   DEFENDANT’S BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

                                   I.      INTRODUCTION

         Indiana Wesleyan University hired Dr. Emily Lewis as Director of Instructional Design

in the Center for Learning and Innovation in December 2016. Unfortunately, Lewis came into

severe conflict with all the Instructional Design team members who reported to her. Upon

learning of the severity of the situation, Lewis’ supervisor, Executive Director Dr. Lorne Oke,

consulted with Human Resources in early August 2018 and determined that Lewis needed to be

removed from her supervisory role. Lewis complained that the problems with her subordinates

and the decision to remove her from supervising them were due to her race (black) or sex. The

university saw no evidence to support this belief. Lewis then became Director of Support for

Research and Learning, still a Director-level position, but without subordinates reporting to her.

        As a result of institutional realignment Oke subsequently moved to a different position

and Dr. Erin Crisp succeeded him as Executive Director of the CLI and became Lewis’

supervisor. Crisp evaluated all the positions in the CLI and determined that in her opinion Lewis’

position did not align with IWU’s strategic plan and her vision for the reorganized CLI. Crisp,

who was unaware of Lewis’ previous complaint of discrimination at the time, decided to



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eliminate Lewis’ position. Lewis declined a Research Assistant position that Crisp offered to

create for her, so Lewis’ employment ended on August 31, 2019.

         Lewis has sued, alleging a variety of claims of race, sex, and age discrimination, as well

as retaliation, under Title VII, 42 U.S.C. § 1981, and the ADEA. Lewis, however, is unable to

establish a prima facie case of discrimination or retaliation, and in any case is unable to show

that IWU’s legitimate reasons for its actions are pretext for unlawful discrimination or

retaliation. IWU therefore respectfully requests that the Court grant summary judgment in its

favor on each of Lewis’ claims.

                           II.      STATEMENT OF MATERIAL FACTS

         A.      IWU’s Center for Learning and Innovation

         Indiana Wesleyan University (“IWU”) is a Christian university established by The

Wesleyan Church. (L.D. 20:5-9; Oke Aff., ¶ 3) 1 With its home campus in Marion, Indiana, IWU

also offers over 100 degree programs online. (Oke Aff., ¶ 3) IWU’s Center for Learning and

Innovation (“CLI”) provides curriculum development support for IWU’s online education

program. (L.D. 41:23-25; 44:19-45:13) The CLI is under the supervision of an Executive

Director, who in 2016 was Dr. Lorne Oke (“Oke”). (L.D. 41:18-22; 42:1-3; O.D. 8:18-22; Oke

Aff., ¶ 2) One team within the CLI was the Instructional Design team, which worked with

faculty members on how to develop and deliver online educational content in the most effective

ways. (L.D. 44:19-45:13) The team was comprised of about five or so Instructional Designers

(“IDs”), who reported to the Director of Instructional Design, who in turn reported to the

Executive Director. (L.D. 41:18-22; 45:14-46:1; and Ex. 8; O.D. 11:23-12:2; 17:17-24).




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        “L.D. __:__ and Ex. __” references pages, lines and exhibit numbers from the deposition transcript of
Emily Lewis; “O.D.” references the deposition of Lorne Oke; “C.D.” references the deposition of Erin Crisp.

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         B.      Oke Hires Lewis As Director of Instructional Design

         In 2016 there was a vacancy for the Director of Instructional Design position. (Oke Aff.,

¶ 4) Nick Rider (“Rider”), the Senior ID, served as the interim director for several months while

IWU advertised the opening. (L.D. 45:24-46:7; O.D. 30:16-25; Oke Aff., ¶ 4) Rider did not

apply for the position. (Oke Aff., ¶ 4) There were a number of applicants, and the list was

narrowed to three finalists. (Oke Aff., ¶ 4) Dr. Emily Lewis (“Lewis”), an African American

woman born in 1960, was one of the finalists. (L.D. 9:4-5) Lewis does not know who the other

finalists were or anything about their race, sex or age. (L.D. 35:21-36:2) One of the other two

finalists was a white woman in her 50s, the third was a white male of unknown age. (Oke Aff., ¶

4) All three of the finalists were interviewed on campus by Oke and other hiring committee

members. (L.D. 35:7-20; O.D. 16:23-25; Oke Aff., ¶ 4) Oke selected Lewis as his preferred

candidate and IWU approved his request for her hire. (L.D. 56:9-13; O.D. 17:1-6; Oke Aff., ¶ 4)

At the time of her hire in December 2016 Lewis was 56 years of age and Oke was 53 years of

age. (L.D. 41:15-16; Oke Aff., ¶ 1).

         C.      Lewis Gets Into Conflict With The Senior Instructional Designer, Who
                 Resigned As A Result

         Shortly after her hire, friction began to develop between Lewis and Rider. (Oke Aff., ¶ 5)

Rider told Oke that he often found Lewis’ instructions confusing and that no matter what he did

it seemed there was no way to please Lewis. (L.D. 46:23-47:2; Oke Aff., ¶ 5) Lewis told Oke

she thought Rider did not want to work for her or take instruction from her because she was

black. 2 (Compl., ¶ 11; L.D. 50:9-21; Oke Aff., ¶ 5) Rider never said anything about Lewis’ race

to Lewis or Oke. (L.D. 54:18-20; Oke Aff., ¶ 5) Instead, it was only Lewis who raised race as an


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        The Complaint also alleges that Lewis thought Rider had issues taking orders from her because she is a
woman. However, Lewis testified in her deposition she is not claiming Rider necessarily had issues taking order
from her because of her sex. (L.D. 56:10-17)

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issue. (L.D. 52:16-25) Oke did not perceive race to have anything to do with the differences

between Lewis and Rider. (Oke Aff., ¶ 5) Oke’s perception of the conflict was that a lot of

activity on the team revolved around Rider as he was well respected by the other IDs, was the

senior ID, and had been functioning as interim Director. (Oke Aff., ¶ 5) As Oke was working to

separate the roles Lewis and Rider would play, while still providing continuity for the staff, it

appeared to Oke that perhaps Lewis viewed Rider as a threat to her authority. (Oke Aff., ¶ 5)

From Oke’s perspective it also appeared that Lewis was attempting to assume control of too

much too quickly, before she really had an understanding of IWU’s systems and processes. (Oke

Aff., ¶ 5).

         Oke met with Lewis and with Rider, both individually and together, on several occasions

to try to mediate their differences and clarify their roles. (L.D. 47:6-12; Oke Aff., ¶ 6) Lewis

contends that during one of her meetings with Oke to discuss her role and Rider’s role that Oke

told her to “step out of the way,” which she thought meant Rider was being put in charge and she

viewed as a demotion. (Compl., ¶ 14) Oke had no intention of demoting Lewis, but he did think

she needed to slow down and take more time to learn IWU’s systems and processes before

attempting to exert too much authority. (Oke Aff., ¶ 6) Ultimately, the attempts to bridge the gap

between Lewis and Rider were unsuccessful, and Rider resigned in frustration effective August

31, 2017. (L.D. 61:22-62:1; Oke Aff., ¶ 6; Pederson Aff., ¶ 4.b.)

         D.     Lewis’ Conflict with the Rest of the Instructional Design Team

         IWU hired Maggie Collins (“Collins”), who is Hispanic, effective December 16, 2017, as

an ID to help fill the void on the team left by Rider’s departure. (L.D. 62:6-8; 62:25-63:2; Oke

Aff., ¶ 7) Oke considered Collins to be a “great find,” who was ambitious in work ethic,

creativity, and well-liked by the other IDs. (Oke Aff., ¶ 7) However, conflict soon developed

between Lewis and Collins. (Oke Aff., ¶ 7) Collins approached Oke in late February 2018,

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expressing concern about what she viewed as Lewis’ hostile supervisory practices directed at

her. (Oke Aff., ¶ 7) Oke asked Collins to do all she could to cooperate with Lewis and honor her

in a way that would set an example for the rest of the staff, which Collins said she would do.

(Oke Aff., ¶ 7) However, later in March some of the other IDs expressed concern to Oke about

how Lewis was treating Collins. (Oke Aff., ¶ 7) They also said that they found Lewis’

management style at times dictatorial and at other times confusing. (Oke Aff., ¶ 7) Oke

encouraged the IDs to communicate as clearly as possible with Lewis and give her a chance.

(Oke Aff., ¶ 7) Over the next few months there were some ups and downs, but it seemed on the

surface to Oke that things were at least somewhat improving in the relationship between Lewis

and IDs. (Oke Aff., ¶ 7).

         In very late July or early August 2018, Oke was talking with ID Jamie Dayton and asked

how she felt things were going on the ID team. (Oke Aff., ¶ 8) Dayton told him that Collins and

ID Kim Mierau were both job hunting because of how Lewis treated them and that the rest of the

ID staff was despondent, believing nothing would be done about Lewis’ poor leadership of the

team. (Oke Aff., ¶ 8) Dayton recommended that Oke talk to each ID individually to get their

perspective. (Oke Aff., ¶ 8) Oke did this, and discovered that all the IDs were very unhappy with

Lewis’ leadership. (O.D. 31:6-10; Oke Aff., ¶ 8) Common concerns were that Lewis was

dictatorial, often confusing in instructions, did not have a good grasp on the computer systems

used by the ID team, was incompetent, and that she picked on Collins, including inappropriately

bad-mouthing her to other IDs while conducting their annual review sessions. (Oke Aff., ¶ 8)

Oke asked the IDs to put their concerns in writing, which they did. (Oke Aff., ¶ 8 and Ex. A) The

feedback from the IDs was consistent, and Lewis does not know but admits that Oke probably




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believed the IDs’ complaints about her. (L.D. 66:12-67:5; 68:10-17; 69:2-10, 17-19; Oke Aff., ¶

8) Oke did believe the IDs’ complaints about Lewis. (Oke Aff., ¶ 8)

         E.      Lewis Is Removed From Supervision of the Instructional Design Team and
                 Becomes the Director of Support for Research and Learning

         Oke had never received the same type of complaints about any other Directors who

reported to him. (Oke Aff., ¶ 8) It was evident to Oke that the relationship between Lewis and

the IDs was irretrievably broken. (Oke Aff., ¶ 9) Oke met with Jill Battishill from Human

Resources and with Chancellor Matt Lucas to discuss what should be done. (O.D. 31:18-21;

41:11-13; Oke Aff., ¶ 9) It was agreed that Oke needed to intervene and remove Lewis from

leadership of the ID team and restructure her role in a way that would not involve supervising

other employees. (O.D. 31:11-32:1; 63:21-64:3; Oke Aff., ¶ 9) Nevertheless, IWU did not want

to terminate Lewis’ employment and hoped that over time with some developmental coaching

Lewis would eventually be ready again to assume a leadership position. (Oke Aff., ¶ 9)

         Oke met with Lewis on August 6, 2018, to talk with her about the feedback on her

leadership received from the IDs and the decision that had been reached. (L.D. 89:9-20; O.D.

33:3-9 and Ex. 27; Oke Aff., ¶ 10) Lewis said she thought the IDs disliked reporting to her

because she thought they did not understand her as an African American. (L.D. 92:16-19) None

of the IDs had ever said anything about Lewis’ race to her or Oke. (L.D. 55:1-3; 93:19-24; Oke

Aff., ¶ 10) Oke did not see the issue as having anything to do with race. (O.D. 28:5-13; 38:19-21;

Oke Aff., ¶ 10) After the meeting Lewis was sent home and told not to come in the next day.

(L.D. 161:1-15; O.D. 39:6-12) She thought Oke was planning to have her terminated, but that

was not Oke’s intention, he simply wanted her to work from home away from the ID team until

her new role could be clarified. (Compl., ¶ 16; L.D. 146:1-7; L.D. Ex. 27; Oke Aff., ¶ 10) 3.


3
         Collins was subsequently temporarily put in charge of the ID team as Senior ID. (O.D. 51:15-52:12) After

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         The same day, August 6, 2018, after she was asked to go home Lewis contacted Diane

McDaniel (“McDaniel”), who is an African American woman born in 1953, IWU’s Vice

President of Diversity and Inclusion & Chief Diversity Officer, to complain that she thought she

had been removed from her supervisory position due to her race or sex. 4 (L.D. 36:9-19; 89:18-

20; 90:12-13; O.D. 41:14-16; McDaniel Aff., ¶¶ 1-4) Oke had also independently contacted

McDaniel regarding his meeting with Lewis and to request her assistance in addressing Lewis’

concerns. (O.D. 39:13-24; Oke Aff., ¶ 11; McDaniel Aff., ¶ 5) McDaniel facilitated a meeting

on August 8, 2018, to address Lewis’ concerns and provide additional information as to why she

had been removed from leadership. (L.D. 90:14-23; O.D. 39:18-24; 42:6-17; McDaniel Aff., ¶ 6)

The meeting was attended by Lewis, McDaniel, Oke, Chancellor Lucas, and Executive Director

for Human Resources Mark Pederson, who prepared minutes of the discussion. (L.D. 90:14-23;

O.D. 39:18-24; 41:17-19; 49:5-10 and Ex. 28; Oke Aff., ¶ 11; Pederson Aff., ¶ 5) After listening

to input from everyone McDaniel found no evidence of discrimination, and by the end of the

meeting felt that Lewis had acknowledged that. (McDaniel Aff., ¶ 6)

         The outcome of the meeting was that Lewis would not supervise the IDs and would work

remotely on projects while a new job description was developed for her. (L.D. 102:25-103:9;

Oke Aff., ¶ 12) Lewis was given input into development of her role, and the next day, August 9,

2018, emailed McDaniel with an initial draft position description. (L.D. 103:7-9; L.D. Ex. 10;

McDaniel Aff., ¶ 7) Lewis met with Oke and Pederson on September 5, 2018, to further discuss

parameters of her job and ideas for edits to an updated draft job description Oke had provided,

noting in a follow up email “the final decision regarding my new position should take place

within a week.” (L.D. 109:18-110:4 and Ex. 11; Oke Aff., ¶ 12) On September 12, 2018, and

Collins later resigned Sandra Metzger took over the ID team with the title Director of Learning and Innovation on
April 16, 2019. (O.D. 51:10-14; 52:13-23; C.D. 43:2-4; Pederson Aff., ¶ 4.c.)
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          Lewis did not mention age as a basis of her concerns. (McDaniel Aff., ¶ 4)

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after consulting with Pederson and Lucas, Oke emailed to Lewis, copying Lucas, Pederson, and

McDaniel, the final job description for Lewis’ new title as Director of Support for Research and

Learning, and Lewis’ title officially changed on October 1, 2018. (L.D. 110:10-111:6 and Ex. 12;

O.D. 42:24-43:6; 45:24-46:11; Oke Aff., ¶ 12) Lewis’ pay and benefits were never cut at any

time during her employment. (L.D. 160:10-15)

        In her new role Lewis worked primarily remotely, but in the office on Mondays and

whenever she needed to attend a meeting on campus. (L.D. 116:20-117:4; O.D. 64:7-17)

Because Lewis did not have any subordinates in her new role, and because her job was funded

out of the CLI’s general budget, the position was not initially assigned an individual budget, but

Lewis requested one and Oke granted the request. (L.D. 120:7-121:10; O.D. 46:25-47:4; 59:24-

60:1; Oke Aff., ¶ 13) Lewis was never denied payment of any expenses she requested, before or

after having a designated budget. (L.D. 121:25-122:16)

         Meanwhile, the CLI had begun a multi-month transition to a new location on campus,

and while Lewis thought all employees but her were issued a key for the new space in fact a

number of employees who primarily worked remotely were not issued keys. (L.D. 115:1-12;

115:22-116:2; Oke Aff., ¶ 14) In the morning the building was always unlocked or there was

someone available to let employees without keys in. (L.D. 124:19-125:2) Many IWU

employees are not issued keys, especially ones who work remotely much of the time. (Pederson

Aff., ¶ 6) If an employee who has not been issued a key wants one, the request must be

submitted in writing by the employee on a university form, and approval is discretionary with the

supervisor. (Pederson Aff., ¶ 6) Lewis later submitted a written key request and was provided

one. (L.D. 127:7-11; Pederson Aff., ¶ 6 and Ex. A) The new CLI space was open concept, not as

large as the previous space, and there were not as many private office spaces. (L.D. 116:5-8;



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O.D. 58:22-59:10; Oke Aff., ¶ 15) Lewis did not have a private office space. (L.D. 116:5-8)

Sandra Metzger, Lewis’ successor as Director over the Instructional Design Team, did not have a

private office space either. (Metzger Aff., ¶ 2-3) There was flex office space in the center of the

new CLI suite that was available to be used by Lewis and other employees who mostly worked

remotely. (O.D. 64:18-24)

         F.     Lewis’ Position is Eliminated By The New CLI Executive Director

         On April 1, 2019, Erin Crisp (“Crisp”) became the new Executive Director of the CLI,

into which was merged other staff and programs over which Crisp already had supervisory

authority, and at that time Crisp became Lewis’ supervisor. (L.D. 117:5-13; O.D. 58:10-17; C.D.

10:16 & errata; 15:15 & errata; 17:3-7; 24:14-21; 44:6-25; 46:13-25; Pederson Aff., ¶ 4.e.; Crisp

Aff., ¶ 2) Crisp planned to reorganize the CLI as part of a larger restructuring of IWU’s National

& Global campus. (Crisp Aff., ¶ 3) A couple of months before officially taking over as the new

Executive Director of the CLI, Crisp reviewed the duties and role of each position she would

supervise. (C.D. 22:1-13; Crisp Aff., ¶ 3) Crisp, who had not been involved in the development

of Lewis’ new job description, did not think that Lewis’ position as Director of Support for

Research and Learning advanced her goals for the CLI or aligned with IWU’s strategic plan as

she envisioned them. (C.D. 20:3-12; Crisp Aff., ¶ 3)

         On February 13, 2019, Crisp emailed her boss, Chancellor Lucas, to inform him of her

plan to eliminate Lewis’ position, but to perhaps create a Research Assistant position she thought

could be of value. (C.D. 30:5-32:2 and Ex. 35; Crisp Aff., ¶ 4) At the time Crisp communicated

her plan she had no knowledge of Lewis’ previous allegations of discrimination. (Crisp Aff., ¶ 4)

Lucas suggested that Crisp speak with McDaniel before moving forward with her plan to

eliminate Lewis’ position, which Crisp did in late March 2019. (C.D. 36:15-37:21; 45:2-12;

47:1-15 and Ex. 36; Crisp Aff., ¶ 4; McDaniel Aff., ¶ 11) McDaniel encouraged Crisp to delay

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 implementing her decision to eliminate the role, and instead first to give Lewis an opportunity to

 demonstrate to Crisp if the role had sufficient value and should be retained, which Crisp agreed

 to do. (Crisp Aff., ¶ 4; McDaniel Aff., ¶ 12)

          By mid-June Crisp still did not feel that Lewis’ role was needed and decided to follow

 through with her original decision from February to eliminate Lewis’ position. (Crisp Aff., ¶ 5)

 Crisp did still think, however, that a Research Assistant position could be of value. (Crisp Aff., ¶

 5) On June 17, 2019, Crisp therefore offered Lewis the options of either accepting the new

 Research Assistant position with an effective date of July 15, 2019, or remaining in her current

 role while looking for another position on campus and if no other position was obtained ending

 employment with IWU at the end of August. (L.D. 147:7-148:13 and Ex. 18; C.D. 40:16-41:14

 and Ex. 37; Crisp Aff., ¶ 5) Lewis elected to remain in her current position. (L.D. 150:1-11 and

 Ex. 19) Lewis did not find another position with IWU, and her employment therefore ended on

 August 31, 2019. (L.D. 150:12-14 and Ex. 19; Crisp Aff., ¶ 5)

          IWU eliminated and never hired a replacement for the Director of Support for Research

 and Learning position vacated by Lewis. (C.D. 45:24-46:1; Crisp Aff., ¶ 6) Some of the main

 duties Lewis had performed simply ceased to be done, as Crisp did not find them of importance;

 other duties were not distributed to anyone in particular and were instead just absorbed by the

 entire staff of the CLI as a whole; a few duties were divided between Crisp and the other CLI

 Directors. (C.D. 23:1-24:10; 29:8-18 and Ex. 34; Crisp Aff., ¶ 6)

          G.     Lewis’ EEOC Charge and Lawsuit

          Lewis filed an EEOC Charge against IWU on July 8, 2019. (L.D. 14:17-15:5 and Ex. 2)

 The EEOC dismissed Lewis’ Charge with a no-cause finding on July 29, 2019. (L.D. 15:6-17

 and Ex. 3) Lewis subsequently filed this lawsuit on October 24, 2019.



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                          III.   SUMMARY JUDGMENT STANDARD

          Summary judgment is appropriate when the record shows “no genuine issue as to any

 material fact and that the moving party is entitled to a judgment as a matter of law.” Celotex

 Corp. v. Catrett, 477 U.S. 317, 322 (1986); Fed. R. Civ. P. 56(c). The moving party need not

 positively disprove the opponent’s case; rather, it may prevail by establishing the lack of

 evidentiary support for that case. See Celotex, 477 U.S. at 325. A party must present more than

 mere speculation or conjecture to defeat a summary judgment motion. Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 252 (1986); Packman v. Chicago Tribune Co., 267 F.3d 628, 637

 (7th Cir. 2001). Neither the “mere existence of some alleged factual dispute between the

 parties,” Anderson, 477 U.S. at 247-48, nor the existence of some “metaphysical doubt as to the

 material facts,” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986),

 will defeat a motion for summary judgment. Michas v. Health Cost Controls of Ill., Inc., 209

 F.3d 687, 692 (7th Cir. 2000). And “[a] party needs more than a scintilla of evidence, however,

 to defeat summary judgment. In summary judgment cases, the non-movant must show that a

 discriminatory reason more likely motivated the employer’s decision or that its proffered

 explanations are unworthy of credence.” Senner v. Northcentral Technical Coll., 113 F.3d 750,

 757-758 (7th Cir. 1997) (citation and marks omitted).

                                          IV.    Argument

          Lewis’ Complaint asserts that she was unlawfully demoted, treated differently/less

 favorably in miscellaneous ways, and ultimately “constructively discharged.” She claims these

 things happened because of her race (Title VII and 42 U.S.C. § 1981), her sex (Title VII), and

 her age (ADEA). She also asserts some of these things occurred in retaliation for engaging in

 protected activity. None of these claims can survive summary judgment, for a litany of reasons.



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          In Jones v. Parkview Hospital, Inc., 2020 WL 6291462, at * 10 (N.D. Ind. Oct. 26, 2020)

 (Lee, J.), this Court stated:

                 Under the McDonnell Douglas burden-shifting method, Jones can
                 establish a prima facie case of race or sex discrimination under
                 Title VII (or race discrimination under § 1981) by presenting
                 evidence that she is a member of a protected class, that she was
                 meeting Parkview's legitimate expectations, that she suffered an
                 adverse employment action, and that similarly situated individuals
                 not in her protected class were treated more favorably. Preston v.
                 Forge Indus. Staffing, Inc., 449 F.Supp.3d 845, 851 (N.D. Ind.
                 2020) (citing Farr v. St. Francis Hosp. and Health Ctrs., 570 F.3d
                 829, 833 (7th Cir. 2009)). “If a plaintiff can establish these four
                 elements, the defendant has an opportunity to articulate a
                 legitimate, nondiscriminatory reason for its action. If the defendant
                 does so, the burden shifts back to the plaintiff and he must offer
                 evidence showing that the defendant's excuse is pretextual.” Id.
                 “This analysis is the same whether a court is analyzing a claim
                 under Title VII or § 1981.” Id. (citing Fane v. Locke Reynolds,
                 LLP, 480 F.3d 534, 538 (7th Cir. 2007)). “At the end of the day,
                 the Court must determine whether a reasonable juror could
                 conclude that Plaintiff would have kept his job if he were a
                 member of a different class, and everything else stayed the same.”
                 Id. (citing Ortiz v. Werner Enter., Inc., 834 F.3d 760, 763 (7th Cir.
                 2016)).

                 The standard of review is the same for Jones’ claim under the
                 ADEA. In order to survive summary judgment, Jones must show
                 that: 1) she was a member of the protected class; 2) she was
                 meeting Parkview's legitimate expectations; 3) she suffered an
                 adverse employment action; and 4) similarly situated younger
                 employees were treated more favorably. Cook v. ArcelorMittal
                 USA LLC, 2020 WL 4284708, at *4 (N.D. Ind. July 27, 2020)
                 (citing Widmar v. Sun Chem. Corp., 772 F.3d 457, 463 (7th Cir.
                 2014)). Under the ADEA, Jones “‘retains the burden of persuasion
                 to establish that age was the ‘but-for’ cause of the employer's
                 adverse action[.]’ ” Id. (quoting Gross v. FVL Fin. Servs., Inc., 557
                 U.S. 167, 177 (2009)).

          Similarly, retaliation claims also follow this burden-shifting framework:

                 To succeed on a Title VII retaliation claim, a plaintiff “must
                 produce enough evidence for a reasonable jury to conclude that (1)
                 she engaged in a statutorily protected activity; (2) the [employer]
                 took a materially adverse action against her; and (3) there existed a
                 but-for causal connection between the two.” Burton, 851 F.3d at
                 695; Lord v. High Voltage Software, Inc., 839 F.3d 556, 563 (7th
                 Cir. 2016). When the plaintiff establishes a prima facie case of
                 retaliation, an employer may produce evidence which, if taken as
                 true, would permit the conclusion that it had a legitimate non-
                 discriminatory reason for taking the adverse employment action.
                 See Lord, 839 F.3d at 564. If the employer meets this burden, the

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                 plaintiff, to avoid summary judgment, then must produce evidence
                 that would permit a trier of fact to establish, by a preponderance of
                 the evidence, that the legitimate reasons offered by the employer
                 were not its true reasons but were a pretext for discrimination.
                 Argyropoulos v. City of Alton, 539 F.3d 724, 736 (7th Cir. 2008). In
                 determining whether the employer’s reason can be characterized as
                 pretextual, we do not evaluate whether the employer’s proffered
                 justification was accurate or even whether it was unfair. Our sole
                 focus is on whether the employer’s stated reason can be
                 characterized as a falsehood rather than an honestly held belief.
                 Harper v. C.R. England, Inc., 687 F.3d 297, 311 (7th Cir. 2012);
                 O’Leary v. Accretive Health, Inc., 657 F.3d 625, 635 (7th Cir.
                 2011).

 Robertson v. Department of Health Services, 949 F.3d 371, 378 (7th Cir. 2020).

          A.     Lewis Failed to Exhaust Required Title VII and ADEA Administrative
                 Remedies Timely with Respect to the 2017 “Demotion” and August 2018
                 Removal of Supervisory Duties

          Even before reaching the substance, two of Lewis’ claims under Title VII and the

 ADEA—related to her 2017 “demotion” and the August 2018 removal of her supervisory

 duties—fail because they are time-barred. In Indiana, a plaintiff must first file a Charge with the

 EEOC within 180 days of challenged adverse action for ADEA claims, and within 300 days for

 Title VII claims. 42 U.S.C. § 2000e-5(e)(1); 29 U.S.C. § 626(d)(1)(A); Daugherity v. Traylor

 Bros., 970 F.2d 348, 350 n.2 (7th Cir. 1992) (“Indiana is not a ‘deferral state’ for the purposes of

 the ADEA,” so the 180-day statute of limitations applies); Kennedy v. Reid Hosp. & Health Care

 Servs., Inc., 279 F. Supp. 3d 819, 832 (S.D. Ind. 2017) (300-day statute of limitations applies for

 Title VII claims). “Failure to file a timely charge with the EEOC precludes a subsequent lawsuit

 under Title VII,” Beamon v. Marshall & Ilsley Trust Company, 411 F.3d 854, 860 (7th Cir.

 2005) (citation omitted), or the ADEA, Ajayi v. Aramark Business Services., Inc., 336 F.3d 520,

 527 (7th Cir. 2003). This Court recently applied these timeliness principles to both Title VII and

 ADEA claims, finding them time-barred, in Jones, 2020 WL 6291462, at *11 (Lee, J.)

          Here, the Complaint alleges that Lewis suffered a first “demotion” when Oke purportedly

 told her to “step back” and let Rider lead. (Compl., ¶ 14) Rider resigned his employment with

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 IWU on August 31, 2017, so this comment had to be made sometime before that date. (L.D.

 61:22-62:1; Oke Aff., ¶ 6; Pederson Aff., ¶ 4.b.) Lewis, however, did not file her only EEOC

 Charge until July 8, 2019, about two years later. (L.D. 14:17-15:5 and Ex. 2) Thus, her ADEA

 and Title VII claims with respect to the 2017 “demotion” are time-barred.

          Similarly, Lewis’ ADEA and Title VII claims related to the August 2018 removal of her

 supervisory duties are also time-barred. Oke met with Lewis on August 6, 2018, to inform her

 that based on the extremely negative feedback he had received from the entire team of IDs she

 would no longer be supervising them. (L.D. 89:9-20; O.D. 33:3-9 and Ex. 27; Oke Aff., ¶ 10)

 Further discussion was had with Lewis on August 8, 2018, in the meeting attended by Lewis,

 Oke, Lucas, McDaniel and Pederson concerning the reasons for this action and IWU’s intention

 to place her in a non-supervisory role. (L.D. 90:14-23; O.D. 39:18-24; 41:17-19; 42:6-17; 49:5-

 10 and Ex. 28; McDaniel Aff., ¶ 6; Oke Aff., ¶ 11; Pederson Aff., ¶ 5) Lewis understood that

 she would no longer be leading the ID team, and indeed tendered her first draft of a proposed job

 description for a new position the very next day, on August 9, 2018. (L.D. 103:7-9; L.D. Ex. 10;

 McDaniel Aff., ¶ 7) But Lewis did not file her EEOC Charge until 333 days later, on July 8,

 2019, again making her Title VII and ADEA claims untimely. (L.D. 14:17-15:5 and Ex. 2)

          B.      Lewis Cannot Establish A Prima Face Case or Show Pretext with Respect to
                  Her Section 1981 Claims Related to the 2017 “Demotion” and August 2018
                  Removal of Supervisory Duties

          Claims under § 1981 have a longer statute of limitations and no administrative exhaustion

 requirement. Nevertheless, Lewis’ § 1981 discrimination and retaliation claims related to the

 2017 “demotion” and the August 2018 removal of her supervisory duties fail substantively, both

 because she cannot establish a prima facie case and because she cannot establish pretext. 5


 5
            Even if they were not time-barred, Lewis’ Title VII and ADEA claims related to these same actions would
 fail for the same reasons because claims under both statutes are analyzed using the same framework as claims under

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                  1.    There Was No Materially Adverse Employment Action

          To support a discrimination or retaliation claim, an alleged employment action must be

 “materially adverse,” meaning “one which visits upon a plaintiff a significant change in

 employment status.” Boss v. Castro, 816 F.3d 910, 917 (7th Cir. 2016). “Such changes can

 involve the employee’s current wealth, his career prospects, or changes to work conditions that

 include humiliating, degrading, unsafe, unhealthy, or otherwise significant negative alteration in

 the workplace.” Id. From the get-go there was friction between Lewis and Senior ID Rider.

 Oke met with Lewis and with Rider, both individually and together, on several occasions to try

 to mediate their differences and clarify their roles. (L.D. 47:6-12; Oke Aff., ¶ 6) Lewis contends

 that during one of her meetings with Oke to discuss her role and Rider’s role that Oke told her to

 “step out of the way,” which she thought meant Rider was being put in charge and she viewed as

 a demotion. (Compl., ¶ 14) Oke had no intention of demoting Lewis, but thought she was trying

 to exert too much control too soon without really fully understanding IWU’s systems and

 thought it would help her and the relationship with Rider if she were to slow down and take more

 time to learn IWU’s systems and processes before attempting to exert too much authority. (Oke

 Aff., ¶ 6) In any case, Lewis specifically alleges in the Complaint that she declined Oke’s

 suggestion and continued to perform her same duties as before, so there was no change in her

 duties. (Compl., ¶ 14) Moreover, there was no change to Lewis’ pay, benefits, or title at that

 time. (L.D. 160:10-15) Thus, there was no materially adverse employment action.

          The August 2018 removal of Lewis’ supervision of the ID team was not a “materially

 adverse employment action” either. Lewis retained the same pay and benefits. (L.D. 160:10-15)

 She also remained a Director, with her title changing from Director of Instructional Design to

 Director of Support for Research and Learning. Place v. Abbott Labs., 215 F.3d 803, 810 (7th

 § 1981, supra.

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 Cir. 2000) (finding plaintiff’s transfer, in which she retained same title, pay, and benefits, but lost

 supervisory responsibilities, was not an adverse employment action).

                 2.      Lewis Cannot Show Similarly Situated Individuals Not in her
                         Protected Class Were Treated More Favorably

          To be “similarly situated,” the individuals must be “directly comparable” in all material

 respects. Dear v. Shinseki, 578 F.3d 605, 610 (7th Cir. 2009). This means, for example, an

 individual who held the same job description, was subject to the same standards of conduct, and

 reported to the same decisionmaker as Lewis. Id. And with respect to any such individual,

 Lewis must demonstrate he or she “engaged in similar conduct without such differentiating or

 mitigating circumstances as would distinguish their conduct or the employer’s treatment of

 them.” Gates v. Caterpillar, Inc., 513 F.3d 680, 690 (7th Cir. 2008). “Although precise

 equivalence is not required, a plaintiff still needs to show that a comparator employee was

 treated more favorably by the same decisionmaker, even though they were both subject to the

 same standards of conduct and engaged in similar, but not necessarily identical, conduct.” Zayas

 v. Rockford Mem. Hosp., 740 F.3d 1154, 1158 (7th Cir. 2014) (internal quotations and citation

 omitted). Thus, Lewis must point to another Director who reported to Oke and who was the

 subject of serious complaints from multiple subordinates (indeed, in Lewis’ case all of her

 subordinates) about her managerial deficiencies and dictatorial leadership. This Lewis cannot do,

 as Oke did not receive the same type of complaints about any other Directors. (Oke Aff., ¶ 8)

                 3.      Oke Acted for Legitimate Reasons, Which Lewis Cannot Show to be
                         Pretextual

          Finally, even if she could establish a prima facie case of discrimination or retaliation

 (which she cannot), in both 2017 and again in August 2018 Oke acted for legitimate reasons,

 which Lewis cannot show to be pretext. In 2017, Rider expressed ongoing frustration (and

 eventually resigned) because Rider told Oke that he often found Lewis’ instructions confusing

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 and that no matter what he did it seemed there was no way to please Lewis. (L.D. 46:23-47:2;

 Oke Aff., ¶ 5) In late July/early August 2018, all of the remaining IDs complained that Lewis

 was dictatorial, often confusing in her instructions, did not have a good grasp on the computer

 systems used by the ID team, was incompetent, and that she picked on Collins. (Oke Aff., ¶ 8)

 Oke learned things were so bad that two of the IDs, Maggie Collins and Kim Mierau, were both

 job hunting because of how Lewis treated them and that the rest of the ID staff was despondent,

 believing nothing would be done about Lewis’ poor leadership of the team. (Oke Aff., ¶ 8) Oke

 asked the IDs to put their concerns in writing, which they did. (Oke Aff., ¶ 8 and Ex. A) The

 comments from each of the IDs show just how seriously dysfunctional each of them found the

 Instructional Design team as a result of Lewis’ poor management and dictatorial leadership. 6

          It was on the basis of these serious complaints by her subordinates, and after consulting

 HR, that Oke decided Lewis had to be removed from supervisory duties. (Oke Aff., ¶ 9) Of

 course, Lewis disputes the accuracy of the complaints the IDs made about her. That, however, is

 legally irrelevant to the pretext analysis. Skiba v. Illinois Central Railroad Co., 884 F.3d 708,

 724 (7th Cir. 2018) (“The question is not whether the employer’s stated reason was inaccurate or

 unfair, but whether the employer honestly believed the reasons it has offered to explain [its

 action]”); Robertson v. Department of Health Services, 949 F.3d at 378 (“In determining whether

 the employer’s reason can be characterized as pretextual, we do not evaluate whether the

 employer’s proffered justification was accurate or even whether it was unfair. Our sole focus is


 6
          Lewis admits that neither Rider nor any of the other IDs ever said anything about her race to her, nor did
 any of them mention her race to Oke. (L.D. 52:16-25; 54:18-20; 55:1-3; 93:19-24; Oke Aff., ¶¶ 5, 10) Yet, she
 assumes that the source of their discontent with her must have been racial in nature. This sort of speculation is
 insufficient to defeat summary judgment. Hedberg v. Indiana Bell Telephone Co., Inc., 47 F.3d 928, 931-32 (7th
 Cir. 1995) (“Such speculation does not meet a party’s burden of producing some defense to a summary judgment
 motion . . . Speculation does not create a genuine issue of fact; instead, it creates a false issue, the demolition of
 which is a primary goal of summary judgment.”) (citations omitted); Uhl v. Zalk Josephs Fabricators, 121 F.3d
 1133, 1137 (7th Cir. 1997) (“Facts, not an employee’s perceptions and feelings, are required to support a
 discrimination claim.”).

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 on whether the employer’s stated reason can be characterized as a falsehood rather than an

 honestly held belief.”) (internal citations omitted); Tyler v. Trs. of Purdue Univ., 834 F. Supp. 2d

 830, 840 (N.D. Ind. 2011) (courts do “not [to] sit as a kind of ‘super-personnel department,’

 weighing the wisdom of a company’s employment decisions; rather [courts are] concerned only

 with whether the employer’s proffered explanation was honest.”). The extremely negative

 feedback about Lewis from the IDs was consistent, and Lewis admits that Oke probably believed

 the IDs’ complaints. (L.D. 66:12-67:5; 68:10-17; 69:2-10, 17-19) Oke in fact did believe the

 IDs’ complaints about Lewis. (Oke Aff., ¶ 8) Based on her admission, Lewis is unable to dispute

 the honesty of Oke’s belief in the reason for his actions, so she is unable to demonstrate pretext.

          Moreover, Lewis’ § 1981 claims are subject to a higher “but for” standard of causation,

 in which she must show race was not merely a motivating factor but the determinative factor in

 IWU’s actions. Comcast Corporation v. National Association of African American-Owned

 Media, 140 S.Ct. 1009, 1019 (2020) (“To prevail [under § 1981], a plaintiff must initially plead

 and ultimately prove that, but for race, it would not have suffered the loss of a legally protected

 right.”); Bachman v. St. Monica's Congregation, 902 F.2d 1259, 1262–1263 (7th Cir. 1990) (“to

 be actionable [under § 1981], racial prejudice must be a but-for cause ... of the refusal to

 transact.”); Apuri v. Parkview Health Sys., No. 1:16-CV-363-TLS, 2019 U.S. Dist. LEXIS

 51533, at *6 (N.D. Ind. Mar. 27, 2019) (“Section 1981 requires a ‘but for’ causation analysis.”). 7

          This is not something Lewis can do. When Lewis was hired there were three finalists for

 the position, all of whom were interviewed in person by Oke and a hiring committee on campus.


 7
           Even if they were not otherwise time-barred, Lewis’ Title VII retaliation, ADEA age discrimination, and
 ADEA retaliation claims would also be subject to the same elevated “but for” causation standard. Univ of Tex.
 Southwestern Med. Ctr. v. Nassar, 570 U.S. 338, 352 (2013) (Title VII retaliation); Reynolds v. Tangherlini, 737
 F.3d 1093, 1104 (7th Cir. 2013) (same); Barton v. Zimmer, Inc., 662 F.3d 448, 455 (7th Cir. 2011) (ADEA
 retaliation); Jones, 2020 WL 6291462, at *10 (Lee, J.) (age discrimination) (quoting Gross v. FVL Fin. Servs., Inc.,
 557 U.S. 167, 177 (2009)); Fleishman v. Continental Cas. Co., 698 F.3d 598, 604 (7th Cir. 2012) (same).

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 Two of the finalists were white, while Lewis was black. Oke selected Lewis as his preferred

 candidate over the two white finalists. (L.D. 56:9-13; O.D. 17:1-6; Oke Aff., ¶ 4) It makes no

 sense that Oke would hire Lewis, knowing she was black, only to turn around and “demote” her

 within a few months or remove her supervisory duties less than two years later based on race.

 See EEOC v. Our Lady of the Resurrection Med. Ctr., 77 F.3d 145, 152 (7th Cir. 1996). 8 Indeed,

 when Oke subsequently moved to an Assistant Vice President role one of his first selections for

 his new team was a 57 year old African American woman. (Oke Aff., ¶ 18)

          C.       Lewis’ Claims That She Was Treated Differently and Less Favorably in
                   Miscellaneous Ways for Discriminatory or Retaliatory Reasons Fail

          Next, Lewis claims that she was discriminated or retaliated against by being treated

 differently and less favorably in several miscellaneous ways. Specifically, Lewis complains that

 after she became the Director of Support for Research and Learning and when the CLI moved to

 its new office space in the fall of 2018 she was not initially given an individual budget, was not

 initially given a key to the new building, and that after the move she did not have a private office

 space. (Compl., ¶¶ 24-26) These claims fail, both because they do not constitute a materially

 adverse employment actions, and because IWU acted for legitimate reasons.

                   1.       None of These Things Were Materially Adverse Employment Actions

          Not initially having an individual budget in her new role as Director of Support for

 Research and Learning is not a materially adverse employment action. Tyler v. Ispat Inland Inc.,

 245 F.3d 969, 972 (7th Cir. 2001) (“even the denial of a monetary perk, such as a bonus or

 reimbursement of certain expenses, does not constitute an adverse employment action if it is

 wholly within the employer’s discretion to grant or deny and is not a component of the


 8
          It also make little sense to suggest age would have been a factor, let alone a but-for cause, of Oke’s action
 given that Oke is only three years younger than Lewis. See, e.g., Fairchild v. Forma Scientific, Inc., 147 F.3d 567,
 572 (7th Cir. 1998); Rand v. CF Industries, Inc., 42 F.3d 1139, 1147 (7th Cir. 1994).

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 employee’s salary.”). Lewis was never denied payment of any expenses she requested, before or

 after having a designated budget. (L.D. 121:25-122:16) And after Lewis requested it she was

 given an individual budget. (L.D. 120:7-121:10; O.D. 46:25-47:4; 59:24-60:1; Oke Aff., ¶ 13)

          Nor is not initially being issued a key to the CLI’s new building a materially adverse

 employment action. Villarruel v. Gary Cmty. Sch. Corp., 28 F. App’x 564, 569 (7th Cir. 2002)

 (plaintiff’s complaint that supervisor took away key to computer room and work area did not

 constitute adverse employment action but, “at most . . . constituted a minor inconvenience, as

 opposed to a material change in her employment status.”). In the morning the building was

 always unlocked or there was someone available to let in employees without keys. (L.D. 124:19-

 125:2) If an employee who has not been issued a key wanted one, university policy required that

 the request must be submitted in writing by the employee on a university form, and approval was

 discretionary with the supervisor. (Pederson Aff., ¶ 6) Lewis later submitted such a written key

 request and was provided with a key. (L.D. 127:7-11; Pederson Aff., ¶ 6 and Ex. A)

         Finally, not having a private office in the CLI’s new, smaller space is not a materially

 adverse employment action either. Place, 215 F.3d at 810 (loss of cubicle, without any showing

 that new working quarters—though not as nice—were shabby or unpleasant, is “too trivial to

 amount to an adverse employment action”). After August 6, 2018, Lewis mostly worked

 remotely, and in the CLI’s new smaller location there was shared office space available for those

 occasions when Lewis was on campus. (O.D. 64:18-24)

         In short, none of the miscellaneous things about which Lewis complains amount to a

 materially adverse employment action. Testerman v. EDS Tech. Prods. Corp., 98 F.3d 297, 306

 (7th Cir. 1996) (“. . . [a]dding together a string of nothings still yields nothing.”).




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                 2.      There Were Legitimate Reasons for Each Item About Which Lewis
                         Complains, Which She Cannot Show to be Pretextual

          In any case, there were entirely legitimate reasons for each of these miscellaneous things

 about which Lewis complains, which she cannot show to be pretextual. Her new position as

 Director of Support for Research and Learning was funded out of the CLI’s general budget and

 Lewis had no subordinates, so there was no reason she needed an individual budget. (L.D.

 120:7-121:10; O.D. 46:25-47:4; 59:24-60:1; Oke Aff., ¶ 13) And after she requested one Oke

 granted it. (L.D. 120:7-121:10; Oke Aff., ¶ 13) As noted above, Lewis was never denied funding

 for anything, before or after being provided an individual budget. (L.D. 121:25-122:16)

         Similarly, there was legitimate reason for Lewis not initially being assigned a key to the

 CLI’s new office location. In her new role Lewis worked primarily remotely. (L.D. 116:20-

 117:4) The CLI had begun a multi-month transition to a new location on campus and, while

 Lewis mistakenly thought all employees but her were issued a key for the new space, in a

 number of employees who primarily worked remotely were not issued keys. (L.D. 115:1-12;

 115:22-116:2; Oke Aff., ¶ 14) Indeed, many IWU employees across campus are not issued keys,

 especially ones who often work remotely. (Pederson Aff., ¶ 6) University employees who do

 not have a key but want one must submit that request in writing on a university form. Lewis

 submitted only one such written request, which was approved. (Pederson Aff., ¶ 6 and Ex. A)

          Finally, not being assigned a private office after the CLI’s move was also legitimate. The

 new space was open concept, not as large as the previous space, and there were not as many

 private offices. (L.D. 116:5-8; Oke Aff., ¶ 15) Lewis, who mostly worked remotely, did not

 have a private office space. (L.D. 116:5-8) Neither did Sandra Metzger, who is a white woman

 and was Lewis’ successor as Director over the Instructional Design Team. (Metzger Aff., ¶¶ 2-3)




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          D.     Lewis’ Second Demotion/Constructive Discharge Claim Fails

          Lewis’ final claim is that she was discriminated or retaliated against when her position as

 Director of Support for Research and Learning was eliminated and she was given the choice in

 June 2019 between accepting a new, to-be-created Research Assistant job or having her

 employment terminate at the end of August 2019. Lewis’ Complaint alleges that this constituted

 a “second demotion” and “constructive discharge.” (Compl., ¶¶ 30, 35)

          This claim fails for several reasons. First, the elimination of her position could not have

 been in retaliation for Lewis’ previous complaint of discrimination, because Crisp was unaware

 of that complaint at the time she made the decision to eliminate Lewis’ position. Lewis therefore

 cannot establish the necessary “but for” causal link element of the prima facie case of retaliation

 under Title VII, § 1981, or the ADEA. Moreover, Lewis cannot establish the fourth element of a

 prima facie case of discrimination because the position did not remain open after her

 employment ended. Finally, even if she could establish a prima facie case of retaliation or

 discrimination, Lewis cannot show the legitimate reason for IWU’s action to be pretextual.

                 1.      Lewis Cannot Show the Required “But For” Causal Link to Support
                         a Retaliation Claim

          “Failure to satisfy any one element of the prima facie case is fatal to an employee’s

 retaliation claim.” Sublett v. John Wiley & Sons, Inc., 463 F.3d 731, 740 (7th Cir. 2006) (citation

 and marks omitted). Lewis cannot establish the third element of a prima facie case of retaliation,

 a “but for” causal link between her complaint of discrimination in August 2018 and the

 subsequent decision by Crisp to eliminate Lewis’ position as Director of Support for Research

 and Learning. Nassar, 570 U.S. at 352; Reynolds, 737 F.3d at 1104; Barton, 662 F.3d at 455;

 Welch v. Eli Lilly & Co., No. 1:11-cv-00891-LJM-TAB, 2013 U.S. Dist. LEXIS 153246, at *20




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 (S.D. Ind. Oct. 24, 2013); Jones v. A.W. Holdings, LLC, No. 1:09-cv-284-WCL, 2011 U.S. Dist.

 LEXIS 11815, at *31 (N.D. Ind. Feb. 7, 2011).

          “A causal link requires more than the mere fact that an employer’s action happens after

 an employee’s protected activity.” Boss v. Castro, 816 F.3d 910, 918 (7th Cir. 2016) (citation

 omitted). Lewis cannot make a but-for causal showing here for two reasons, either of which

 independently dooms her retaliation claim. First, there was a more than six-month time gap

 between Lewis’ complaint of discrimination in early August, 2018, and Crisp’s email to Lucas

 on February 13, 2019 that communicated Crisp’s decision to eliminate Lewis’ position. Such a

 lengthy time gap undercuts the ability to demonstrate a causal link. See, e.g, Harper v. C.R.

 England, Inc., 687 F.3d 297, 308 (7th Cir. 2012) (five-month gap between protected activity and

 adverse action too long to support inference of causation).

          Second, and even more importantly, Crisp had no knowledge of Lewis’ previous

 complaint of discrimination when she made the decision to eliminate Lewis’ job. (Crisp. Aff., 4)

 It is not possible for there to be a causal link between protected activity and adverse action where

 the decision maker had no knowledge of the protected activity at the time the decision was made.

 Stephens v. Erickson, 569 F.3d 779, 788 (7th Cir. 2009) (“Clearly, a superior cannot retaliate

 against an employee for a protected activity about which he has no knowledge.”).

                 2.      Lewis Cannot Establish the Fourth Element of A Prima Facie Case of
                         Race, Sex or Age Discrimination

          Lewis also cannot establish the fourth element of a prima facie case of race, sex, or age

 discrimination with respect to Crisp’s decision to eliminate her position as Director of Support

 for Research and Learning. Specifically, in the context of a job elimination the fourth element of

 a discrimination prima facie case requires the plaintiff to show “there was a similarly situated

 person not in his protected class who was treated better than he was.” Bio v. Inventiv Health


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 Clinical, LLC, 793 F. App'x 450, 452 (7th Cir. 2020). This Lewis cannot do. There is no

 evidence that any other Director whose position insufficiently advanced Crisp’s goals of the CLI

 or was misaligned with IWU’s strategic plan as envisioned by Crisp, kept his or her job.

                 3.      Lewis Was Terminated for Legitimate Reasons, Which She Cannot
                         Show to be Pretextual

          Even if Lewis could establish a prima facie case with respect to the elimination of her

 position as Director of Support for Research and Learning, her claims would still fail because the

 decisionmaker, Crisp, acted for legitimate reasons that Lewis cannot show to be pretextual.

 Once again, the same legal analysis set out in Section IV.B.3 above applies equally here.

         Crisp was not involved in the decision to create Lewis’ Director of Support for Research

 and Learning position. (C.D. 20:3-12; Crisp Aff., ¶ 3) In preparation for assuming leadership of

 the CLI, Crisp reviewed all of the positions in the CLI to understand what they did. (C.D. 22:1-

 13; Crisp Aff., ¶ 3) With respect to Lewis’ position, Crisp did not feel that the job aligned with

 her vision of IWU’s strategic plan and her plans for restructuring the CLI. (C.D. 20:3-12; Crisp

 Aff., ¶ 3) Crisp decided she wanted to eliminate the role, which she communicated in an email

 to Chancellor Lucas in an email on February 13, 2019. (C.D. 30:5-32:2 and Ex. 35; Crisp Aff.,

 ¶ 4) Lucas recommended that Crisp consult with McDaniel before moving forward, which she

 did. (C.D. 36:15-37:21; 45:2-12; 47:1-15 and Ex. 36; Crisp Aff., ¶ 4; McDaniel Aff., ¶ 11)

 McDaniel encouraged Crisp to delay implementation of her decision to give Lewis a chance to

 demonstrate to Crisp whether the position warranted retaining, which Crisp agreed to do. (Crisp

 Aff., ¶ 4; McDaniel Aff., ¶ 12) By mid-June Crisp’s view had not changed, so she moved

 forward with her original decision to eliminate the role, notifying Lewis on June 17, 2019.

 (Crisp Aff., ¶ 5) Crisp did think that a Research Assistant position could be of value (which she

 had also mentioned to Lucas in her February 13 email). (Crisp Aff., ¶ 5) Crisp offered this


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 possible new role to Lewis, but Lewis declined the offer and her employment therefore ended on

 August 31, 2019. (L.D. 147:7-148:13 and Ex. 18; C.D. 40:16-41:14 and Ex. 37; Crisp Aff., ¶ 5)

 Crisp did not hire anyone to replace Lewis. (C.D. 45:24-46:1; Crisp Aff., ¶ 6) Some of the main

 duties Lewis had performed simply ceased to be done, as Crisp did not find them of importance.

 Other duties were not distributed to anyone in particular, and were just absorbed by the entire

 staff of the CLI as a whole. (C.D. 23:1-24:10; 29:8-18 and Ex. 34; Crisp Aff., ¶ 6)

         Lewis may disagree and think her role should have been retained. The question,

 however, is not whether Crisp was “right” or “wrong” in her decision to eliminate Lewis’ role,

 but whether Crisp’s reason for doing so was honest. Skiba, 884 F.3d at 724; Robertson, 949 F.3d

 at 378; Tyler, 834 F. Supp. 2d at 840. There is no evidence to dispute the honesty of Crisp’s

 reasoning, so Lewis’ claims as to elimination of this position cannot survive.

                                         V.   CONCLUSION

          For all these reasons, IWU respectfully requests that the Court grant summary judgment

 in its favor on all claims in this action.

                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 25, 2021, a copy of the foregoing Defendant’s Motion

 for Summary Judgment was filed electronically. Notice of this filing will be sent to the

 following parties by operation of the Court’s electronic filing system. Parties may access this

 filing through the CM/ECF system:

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